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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
BLACK & DAVISON, et al.,                 :    Civil No. 1:17-CV-00688
                                         :
           Plaintiffs,                   :
                                         :
           v.                            :
                                         :
CHAMBERSBURG AREA SCHOOL                 :
DISTRICT, et al.,                        :
                                         :
           Defendants.                        Judge Jennifer P. Wilson

                                    ORDER

     AND NOW, on this 13th day of July, 2020, for the reasons set forth in the

accompanying memorandum, IT IS ORDERED as follows:

     1) Defendants’ motion for summary judgment is GRANTED. (Doc. 58.)

        The Clerk of Court is directed to enter judgment in Defendants’ favor on

        all counts.

     2) The motions in limine are DENIED AS MOOT. (Docs. 62, 74, 75, 76.)

     3) The Clerk of Court is further directed to close this case.




                                             s/Jennifer P. Wilson
                                             JENNIFER P. WILSON
                                             United States District Court Judge
                                             Middle District of Pennsylvania
